Case 1:21-cr-00232-CRC Document 54 Filed 09/08/22 Page 1 of 7
Case 1:21-cr-00232-CRC Document 54 Filed 09/08/22 Page 2 of 7
Case 1:21-cr-00232-CRC Document 54 Filed 09/08/22 Page 3 of 7
Case 1:21-cr-00232-CRC Document 54 Filed 09/08/22 Page 4 of 7
Case 1:21-cr-00232-CRC Document 54 Filed 09/08/22 Page 5 of 7
Case 1:21-cr-00232-CRC Document 54 Filed 09/08/22 Page 6 of 7
Case 1:21-cr-00232-CRC Document 54 Filed 09/08/22 Page 7 of 7
